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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY


In re:                                                  Chapter 7
LOTUS EXIM INTERNATIONAL, INC.,                         Case No. 18-15957

         Debtor.


                  NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that Joseph Lubertazzi, Jr. of McCarter & English, LLP,

hereby enters his appearance in the above-captioned case for Provident Bank (“Provident”), and

hereby requests, pursuant to Section 1109 of Title 11 of the United States Code and Rules 2002,

3017, 9007 and 9010 of the Federal Rules of Bankruptcy Procedure, that Provident be placed on

the mailing matrix filed by the debtor and any and all other mailing matrices or service lists that

may be used for any purpose in this case and that copies of any and all notices given or required

to be given and of all pleadings and other papers served or required to be served in this case be

given and served on undersigned counsel at the following address:

                         Joseph Lubertazzi, Jr.
                         McCarter & English LLP
                         Four Gateway Center
                         100 Mulberry Street
                         Newark, NJ 07102-4056
                         Tel: 973-622-4444
                         Fax: 973-624-7070
                         Email: jlubertazzi@mccarter.com

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the Federal Rules of Bankruptcy Procedure specified above, but

also includes, without limitation, orders and notices of any application, motion, petition,

pleading, request, complaint or demand, whether written or oral, formal or informal, and whether




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transmitted or conveyed by mail, hand delivery, facsimile transmission, telephone, telegraph,

telex or otherwise, which affects the debtor or the property of or in the possession, custody or

control of the debtor, or which is otherwise filed or given with regard to the above-captioned

case.


Dated: Newark, New Jersey
       April 12, 2018


                                               McCARTER & ENGLISH LLP
                                               Attorneys for Provident Bank


                                               By: s/ Joseph Lubertazzi, Jr.
                                                   Joseph Lubertazzi, Jr.
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